











Opinion issued November 2, 2006










&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;





In The
Court of Appeals
For The
First District of Texas




NO. 01-06-00910-CV




IN RE LEONIDAS KAPETANAKIS




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator filed a petition for writ of mandamus complaining of Judge
McCorkle’s


 October 4, 2006, order striking Mr. Kapetanakis’s jury demand.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of mandamus.

PER CURIAM

Panel consists of Justices Taft, Keyes, and Hanks.
&nbsp;


